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 1                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
 2

 3    UNITED STATES OF AMERICA,           )
                                          )
 4                     Plaintiff,         )
                                          )
 5         VS.                            )     24-CR-70
                                          )
 6    SHANE McDOWELL,                     )
                                          )
 7                     Defendant.         )

 8

 9                                  APPEARANCES:

10    ATTORNEYS DILLAN EDWARDS AND JARED MANTERNACH, U.S.
      Attorney's Office, 111 Seventh Avenue S.E., Box 1, Cedar
11    Rapids, Iowa 52401, appeared on behalf of the United
      States.
12
      ATTORNEY WEBB L. WASSMER, Wassmer Law Office, 5320
13    Winslow Road, Marion, Iowa 52302, appeared on behalf of
      the Defendant.
14

15                      HEARING ON MOTION TO SUPPRESS,

16                 HELD BEFORE THE HON. MARK A. ROBERTS,

17    on the 29th day of October, 2024, at 111 Seventh Avenue

18    S.E., Cedar Rapids, Iowa, commencing at 9:01 a.m., and

19    reported by Patrice A. Murray, Certified Shorthand

20    Reporter, using machine shorthand.

21    Transcript Ordered: 12/27/24
      Transcript Completed: 1/3/25
22

23                    Patrice A. Murray, CSR, RMR, FCRR
                                Court Reporter
24                               PO Box 10541
                           Cedar Rapids, Iowa 52410
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 1         (The following proceedings were held in open court.)

 2                 THE COURT:      The matter now before the Court is

 3    the United States of America versus Shane Robert

 4    McDowell, number 24-CR-70.           The United States is

 5    represented by Assistant United States Attorneys Dillan

 6    Edwards and Jared Manternach.            The defendant is here in

 7    person with his attorney, Webb Wassmer.                The matter comes

 8    on for a hearing on the defendant's motion to suppress.

 9          We were having some technical issues.                Patrice, were

10    you able to establish a Wi-Fi connection?

11                 COURT REPORTER:         Yes, I was.

12                 THE COURT:      Okay.     Then I'll have to -- before

13    we get started, I'll have to get that set up.

14          I did want to talk about a few things before we get

15    started.     Mr. Edwards, can you give us a preview of who

16    you intend to call this morning?

17                 MR. EDWARDS:       Yes, Your Honor.         There's two

18    witnesses the government will certainly call:                  Tanner

19    Bohling first; and then second would be Austin Bailey.

20    Depending on how the evidence comes in, the government

21    then is prepared to call Skylar Mullins, but that would

22    kind of be a judgment call.            The government noticed the

23    defense counsel last night that it will not be calling

24    Deputy Matt Jackson, as he has a conflict, unable to be

25    here, and the government decided it wasn't necessary.
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 1                 THE COURT:      Okay.     And, Mr. Wassmer, do you

 2    have any additional evidence, other than the exhibits you

 3    plan to offer?

 4                 MR. WASSMER:       Just the four exhibits that I

 5    previously filed.        I do not plan on calling any

 6    witnesses.

 7                 THE COURT:      Okay.     It occurs to me, whenever we

 8    have a suppression hearing and there has been a warrant

 9    issued, to at least think about Franks.                And I don't

10    think either of the parties cited Franks here.                  And I

11    think I understand why, but I do want to visit with you

12    both about that.

13          On the first argument the defendant has about the

14    validity of the search warrant for any vehicle in which

15    Mr. McDowell may be found, it was issued without probable

16    cause, that was the part -- it was issued with a warrant.

17    So I believe, even though there might be an interesting

18    issue about issuing a warrant for any vehicle he's found

19    in, that's still something that I decide based on the

20    four corners of the warrant.            We're not here to

21    cross-examine the truth of the averments in the

22    affidavit.

23          Do you agree with that position, generally,

24    Mr. Wassmer?

25                 MR. WASSMER:       Yes.    I'm not contending that
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 1    there's any false statements in the warrant affidavit or

 2    that the officer left out any material information.                   The

 3    argument is basically that, based on the four corners of

 4    that affidavit, it's insufficient to establish probable

 5    cause for the portion of the warrant for any vehicle in

 6    which Mr. McDowell may be driving or riding.

 7                 THE COURT:      Okay.     So I imagine you disagree

 8    with the conclusion, Mr. Edwards, but you agree with

 9    the Franks analysis, is that we're not here to

10    cross-examine and get outside the four corners of the

11    warrant with respect to the validity of the warrant?

12                 MR. EDWARDS:       Yes, Your Honor.         And it was

13    exactly that analysis that led the government to be

14    comfortable with not calling Matt Jackson today.

15                 THE COURT:      Okay.     So for the rest of this, the

16    next -- I mean, the rest of this, I think we need at

17    least some evidence about the search warrant was limited

18    to items found in Cedar County.             We need at least a

19    record on where the items were found to get to what seems

20    to be a legal issue about the effect of executing the

21    warrant on property that was in Linn County.                  And then

22    with respect to the government's, I guess, backstop

23    arguments here, even if the warrant's invalid, whether

24    there was standing or separate probable cause, those

25    things, I believe at least, we need some evidence on, and
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 1    that's why we need an evidentiary hearing.

 2          Do you agree with that, Mr. Edwards?

 3                 MR. EDWARDS:       I do.     I do agree with that, kind

 4    of with one nuance there.           And the government called

 5    defense counsel about this last week to apprise defense

 6    counsel of the government's argument.

 7          But it's the government's position that the

 8    defendant has the initial burden to prove standing and

 9    has to come forth with some evidence to prove that he

10    even has the ability to challenge the traffic stop/the

11    search warrant.        And, obviously, it's the government's

12    position that he can't meet that.              But I think that

13    there's an additional evidentiary burden that the

14    defendant has to prove that he has standing.

15                 THE COURT:      All right.       Mr. Wassmer, any

16    additional thoughts on sort of the framework for the

17    hearing today or the burdens?

18                 MR. WASSMER:       No.     I think the evidence, as the

19    Court indicated, is probably largely based on the

20    arguments that the government's making in its resistance.

21                 THE COURT:      All right.       Then let's get started.

22    We do have two hours reserved for our hearing this

23    morning.     And, Mr. Edwards, you can begin.

24                 MR. EDWARDS:       Thank you, Your Honor.           I guess

25    I'd just -- to kind of dovetail off my former argument
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 1    that I just made, I guess it's the government's position

 2    that, given that standing is at issue here, that it's the

 3    defendant's initial burden to come forward.                 And so, I

 4    guess, in terms of who goes first, it would be the

 5    defendant.      Now, certainly, if the Court disagrees with

 6    that or would prefer the government to go first, the

 7    government is certainly ready.

 8                 THE COURT:      Mr. Wassmer, do you have any

 9    problem in going first with your standing arguments?

10                 MR. WASSMER:       Well, all I'm doing for evidence

11    is offering the four exhibits, which I think establishes

12    standing.     I do have a response.           It's more of an

13    argument as opposed to evidence on that.

14                 THE COURT:      So you are offering your four

15    exhibits at this point?

16                 MR. WASSMER:       Yes.

17                 THE COURT:      Okay.     Any objection?

18                 MR. EDWARDS:       No, Your Honor.

19                 THE COURT:      Okay.     Those are admitted.

20          (Whereupon, Exhibits A through D were received.)

21                 THE COURT:      Are any of them under seal?

22                 MR. WASSMER:       I believe they were all filed

23    under seal.

24                 THE COURT:      And do you wish them to remain so

25    at this point?
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 1                 MR. WASSMER:       That's up to the government.

 2    They're basically from the government's discovery file,

 3    which is why I filed them under seal.

 4                 MR. EDWARDS:       The government -- I believe that

 5    that's appropriate, and the government certainly has no

 6    objection to them being offered under seal.

 7                 THE COURT:      Okay.     So those are admitted under

 8    seal.    And whether he's met his burden to establish

 9    standing, at least he's made his argument -- or his

10    evidence, I should say, with respect to standing.

11            And do you have any evidence you wish to present

12    this morning, Mr. Edwards?

13                 MR. EDWARDS:       Thanks, Judge.        Preliminarily,

14    the government moves Government's Exhibits 1 through 5

15    into evidence, under seal.

16                 THE COURT:      Any objection?

17                 MR. WASSMER:       No objection.

18                 THE COURT:      Government's Exhibits 1 through 5

19    are admitted under seal.

20            (Whereupon, Exhibits 1 through 5 were received.)

21                 MR. EDWARDS:       At this time, the United States

22    calls Investigator Tanner Bohling.

23                 THE COURT:      Investigator, if you could come

24    forward, please.        Our witness stand will be to your left.

25    And before you take a seat, if you would please stop and
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 1    raise your right hand.

 2                                TANNER BOHLING,

 3    called as a witness, being first duly sworn or affirmed,

 4    was examined and testified as follows:

 5                 THE COURT:      Please be seated.         When you are

 6    comfortable, just please adjust the microphone.                   And pull

 7    your chair up so we can be sure to hear and record you.

 8          Mr. Edwards.

 9                 MR. EDWARDS:       Thank you.

10                              DIRECT EXAMINATION

11          BY MR. EDWARDS:

12    Q.    Sir, will you please state and spell your name for

13    the court reporter.

14    A.    Tanner Bohling, T-A-N-N-E-R B-O-H-L-I-N-G.

15    Q.    How are you currently employed, sir?

16    A.    I'm employed with the Muscatine County Sheriff's

17    Office.

18    Q.    Are you attached to any drug task force in the area?

19    A.    I'm with the Muscatine County Drug Task Force, yes.

20    Q.    How long have you been attached to the Muscatine

21    County Drug Task Force?

22    A.    It will be four years now.

23    Q.    And just generally, what are some of your duties as

24    part of that task force?

25    A.    We investigate the distribution/manufacturing of
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  1   narcotics around Muscatine County.

  2   Q.     And were you acting in that capacity at the relevant

  3   times in this investigation?

  4   A.     Yes.

  5   Q.     Now, part of this investigation included the use of

  6   a confidential informant or confidential source, which

  7   I'll refer to as "CS" throughout today.                Will you just

  8   describe for the Court what was explained or kind of the

  9   process that it took for the CS to be signed up as an

 10   informant in this case?

 11   A.     Yes.    So we have the initial interview with them,

 12   discovering who they have purchased narcotics from in the

 13   past, quantity, as well as the price that they purchased

 14   the drugs for.       From that point on, we ask them if they

 15   would be willing to conduct controlled transactions for

 16   us.    Typically, they'll state yes.            We'll go over our

 17   procedure.

 18   Q.     Let me just pause you right there.              Making this more

 19   fact-specific, did the CS in this case reach out to

 20   Muscatine County Drug Task Force to set up a meeting?

 21   A.     Yes.

 22   Q.     And what was, essentially, the CS's motivation in

 23   terms of working with law enforcement?

 24   A.     She wished to get out of jail because she was

 25   serving a mittimus at the time.
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  1   Q.     And so you stated that kind of generally you have an

  2   initial interview where they identify sources.                  Did you

  3   have that interview with the CS in this case?

  4   A.     Yes.

  5   Q.     And after that interview -- or during that

  6   interview, you talked about describing the process of

  7   utilizing a CS.        Will you describe, just generally, what

  8   was said to the CS in this case about that?

  9   A.     We go over a typical controlled transaction, what

 10   occurs, what we do beforehand and after.                I ask them if

 11   they would be willing to consent to vehicle searches

 12   before and after every transaction that we do; if they

 13   would consent to a body search, a strip search, of their

 14   person before and after every transaction as well.                    They

 15   also complete a confidential source agreement stating,

 16   initialling, and signaturing [sic] that they would wear a

 17   body transmitter so that we could listen.                That's pretty

 18   much what we go over.

 19   Q.     And in this case, is it conveyed -- or was it

 20   conveyed to the CS that the CS is essentially working on

 21   behalf of law enforcement during the time that she's

 22   being directed by law enforcement?

 23   A.     Yes.    That's something that she initials and signs.

 24   Q.     And kind of the general conveyance there is that law

 25   enforcement is in control as to how this goes?
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  1   A.     Yes.

  2   Q.     So in this case, was the CS signed up as a

  3   confidential source?

  4   A.     Yes.

  5   Q.     And through what agency?

  6   A.     It would be through the State of Iowa.

  7   Q.     Through the Department of Narcotics?

  8   A.     Yes.

  9   Q.     And let's just continue on the story.               You have the

 10   initial meeting.        Then the CS was signed up and explained

 11   the procedures.        At some point, does law enforcement

 12   utilize the CS to conduct a controlled purchase from the

 13   defendant?

 14   A.     Yes.

 15   Q.     Was that on February 5, 2024, being the first one?

 16   A.     Yes.

 17   Q.     Will you describe, on February 5, 2024, the

 18   procedures that law enforcement took throughout the

 19   controlled purchase?

 20   A.     So we have the CS set up the date and time of the

 21   transaction on the 5th.          We all meet at a predetermined

 22   meet location.       I go ahead and I brief all the detectives

 23   and personnel that are going to be involved on the, I

 24   guess, scenario and procedure that we're going to take

 25   for the transaction.
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  1          Once they're briefed and they don't have any

  2   comments or concerns or questions, I will go back with

  3   the CS, and that's when I begin my search of their

  4   person, as well as having a couple of the other

  5   detectives search their vehicle to kind of speed up the

  6   process.      And we just kind of go over some of the fine

  7   details, give them the money, those sort of things.

  8   Q.     Now, in this case, page 1 of -- page 2 of

  9   Government's Exhibit 1, which is a report from the

 10   February 5th transaction, it describes a Detective Nicole

 11   Sink conducting the -- essentially, the strip search.                 Is

 12   that because the CS in this case was a female?

 13   A.     Yes.

 14   Q.     And so -- I think you said earlier that you

 15   conducted the search of the person.              That would have been

 16   a female law enforcement officer?

 17   A.     Yeah, a female officer.          Gender-specific on who we

 18   search.

 19   Q.     And then you stated that deputies searched the CS's

 20   vehicle in this case before the transaction?

 21   A.     Before the transaction, before we left.

 22   Q.     And was both the person search and the vehicle

 23   search negative for any contraband?

 24   A.     They were both negative.

 25   Q.     The report gets into kind of the details as to what
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  1   specifically occurred in terms of where the controlled

  2   source -- or the controlled purchase occurred, but let's

  3   pick up after the controlled purchase from the defendant.

  4   What happened with the CS as soon as she -- kind of

  5   starting with the CS obtaining the methamphetamine from

  6   the defendant.

  7   A.     Once they received the methamphetamine, I reach out

  8   to them via text or phone call.             I explain to them to,

  9   basically, go around the block and meet me at a

 10   destination where it would be out of sight, kind of out

 11   of mind, from other eyes and ears so that we can take

 12   possession of the methamphetamine from them, as well as

 13   get the CS searched, as well as their vehicle, and have

 14   them complete a statement.

 15   Q.     And so on February 5th, the CS's vehicle and person

 16   were searched both before and after the controlled

 17   purchase?

 18   A.     Correct, before and after.

 19   Q.     And the CS knew going into it that that was going to

 20   happen?

 21   A.     Yes.

 22   Q.     And throughout the entirety of the controlled

 23   purchase, the CS was -- essentially, consented to law

 24   enforcement listening in live via the body wire?

 25   A.     Yes.
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  1   Q.     Was the next controlled purchase that the same CS

  2   did from the defendant on February 13, 2024?

  3   A.     Yes.

  4   Q.     Were the same procedures in place in terms of the

  5   searching before and after both the vehicle and the

  6   person?

  7   A.     Yes.

  8   Q.     And did the CS again consent to wearing the body

  9   wire so law enforcement could listen live into the

 10   conversations the CS was having with the defendant?

 11   A.     Yes.

 12   Q.     Now I want to get to, essentially, the date in

 13   question here, February 28, 2024.              Did law enforcement

 14   work with the CS to arrange another controlled purchase

 15   from the defendant?

 16   A.     Yes.

 17   Q.     Earlier in the day on February 28th, was there an

 18   attempt that was unsuccessful to conduct the controlled

 19   purchase?

 20   A.     Yes.

 21   Q.     Will you describe that.

 22   A.     So once we did the brief and our searches and we

 23   departed the area to begin our en route to Cedar Rapids,

 24   the target actually reached out and stated that he would

 25   no longer have the methamphetamine on hand and that we
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  1   would have to wait a few hours, and so it would be best

  2   for us to try again later.

  3   Q.     When you say "target," is that the defendant?

  4   A.     That would be the other defendant, I guess.

  5   Q.     Okay.    So the defendant's source?

  6   A.     The source, yes.

  7   Q.     The source conveyed to the defendant, who then

  8   conveyed to the CS, that you have to wait a couple hours?

  9   A.     Correct.

 10   Q.     Thank you.      So during that time -- and it may have

 11   been before the attempt or the successful one -- but did

 12   law enforcement obtain a search warrant related to the

 13   defendant?

 14   A.     Yes.

 15   Q.     And did -- was that in hand before what I'm going to

 16   term as the "controlled purchase" in this case that

 17   occurred in the evening of February 28th?

 18   A.     Yes, it was.

 19   Q.     And when the warrant was in hand, did you have

 20   knowledge as to where the defendant and a vehicle -- the

 21   specific vehicles associated with him were located, in

 22   what county?

 23   A.     Yes.

 24   Q.     And what county was that?

 25   A.     Cedar County.
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  1   Q.     And then before the actual controlled purchase in

  2   the evening of February 28th, was there a safety briefing

  3   in Cedar County?

  4   A.     Yes.

  5   Q.     And who led that safety briefing?

  6   A.     I did.

  7   Q.     And, just generally, what is -- what was covered in

  8   that safety briefing?

  9   A.     It was determined that we were going to take off the

 10   target on a traffic stop before they got back to Cedar

 11   County, back home.

 12   Q.     The target in this instance being the defendant?

 13   A.     Yes.

 14   Q.     So there was kind of -- the operation was explained

 15   to the people in Cedar County that were assisting that

 16   the controlled buy was going to happen, and on their way

 17   back to Cedar County, a traffic stop was going to occur

 18   to effectuate the controlled purchase?

 19   A.     Yes.

 20   Q.     Now, was there a similar safety briefing that

 21   another investigator held with the investigators and

 22   officers assisting in Cedar Rapids?

 23   A.     Yes.

 24   Q.     And would that have been a similar explanation in

 25   terms of what occurred during that safety briefing?
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  1   A.     Yes.

  2   Q.     Now, I think it's common knowledge that officers

  3   have kind of radio frequencies to talk with themselves

  4   and be able to talk with dispatch; is that right?

  5   A.     Yes.

  6   Q.     During controlled purchases, do you and other

  7   detectives and officers assisting have kind of a separate

  8   communication system?

  9   A.     Yes.

 10   Q.     Will you describe that for the Court, please.

 11   A.     So apart from our radio system, we also have a --

 12   WhatsApp, which is just a text message group message of

 13   all of our officers/investigators within that to

 14   time-stamp certain situations or events that are

 15   occurring at the time of the controlled transaction.

 16   Q.     Do you also utilize walkie-talkies?

 17   A.     Yes.

 18   Q.     Will you describe that.

 19   A.     We refer to them as our radios.             We are constantly

 20   communicating which direction they're traveling, when

 21   they're making the turn, if they're stopped at red

 22   lights, where they're positioned during the controlled

 23   transaction, what they're close to.              That way, everybody

 24   has an understanding of where they're at at all times.

 25   Q.     And so this would just be a narrating live to
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  1   everybody involved as to what a specific officer is

  2   seeing at specific times?

  3   A.      Yes.

  4   Q.      And are those -- they're your radios, but are they

  5   kind of a closed frequency, meaning that everyone that is

  6   involved in the controlled purchase is talking over the

  7   same frequency, and other officers that aren't involved

  8   wouldn't be listening in?

  9   A.      Correct.    It was on a different channel.

 10   Q.      So after the safety briefings were had, was -- at

 11   least in Cedar County, did yourself meet with the

 12   confidential source?

 13   A.      Yes.

 14   Q.      And while you may not have done the searches

 15   yourself, but was the -- was the CS's person and vehicle

 16   searched?

 17   A.      Yes.

 18   Q.      Did the CS know the plan in terms of the traffic

 19   stop?

 20   A.      No.

 21   Q.      And so will you just describe for the Court

 22   generally what happened next.            After the CS's vehicle and

 23   person were searched and the safety briefings were had,

 24   what happened?

 25   A.      That is when we departed the area to travel to go
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  1   pick up the defendant.

  2   Q.     Now, at some point during this controlled purchase,

  3   either before or during, did you instruct the CS to do

  4   something with the methamphetamine he or she received

  5   from the defendant after receiving it?

  6   A.     Yes.

  7   Q.     Will you describe that for the Court.

  8   A.     I instructed the CS to place it in the rear,

  9   underneath the spare tire compartment.               That way we knew

 10   exactly where it would be.

 11   Q.     And was that in your initial meeting with the CS

 12   before the controlled purchase occurred?

 13   A.     No, not in the initial meeting.             This was over a

 14   text before the transaction.

 15   Q.     So, essentially, while she is acting as a

 16   confidential source and with the defendant, you sent her

 17   a text telling her what to do with the methamphetamine?

 18   A.     Yes.

 19   Q.     So the report, which is Exhibit 3, describes --

 20   sorry.     Government's Exhibit 4 is a more detailed report.

 21   The first four pages of it describes the CS and the

 22   defendant traveling to Cedar Rapids, at which point the

 23   defendant met with his source of supply, later identified

 24   as Andre McNairy.        Did law enforcement conducting

 25   physical surveillance observe that?
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  1   A.     Yes.

  2   Q.     Was that something that would be radioed over the --

  3   or discussed over the radio frequency?

  4   A.     Yes.

  5   Q.     After the defendant met with his source of supply,

  6   what happened next in terms of what law enforcement saw?

  7   A.     We saw Mr. McNairy exit his vehicle and go into the

  8   Dollar Tree or the store.           Then our CS, as well as the

  9   defendant here, drove around to where they were

 10   originally parked at the car wash.

 11   Q.     And after they were parked at the car wash, what

 12   happened?

 13   A.     That is when I believe the CS moved the

 14   methamphetamine to the rear of the vehicle.

 15   Q.     Was that observed personally by you?

 16   A.     Not personally, no.

 17   Q.     But was that conveyed over, an officer that did view

 18   it, over the radio frequency?

 19   A.     Yes.

 20   Q.     And also, as well, over the text message or the

 21   WhatsApp thread?

 22   A.     Yes.

 23   Q.     Now, was the CS equipped with a body wire in this --

 24   during this controlled buy?

 25   A.     Yes.
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  1   Q.     Did that allow investigators, including yourself, to

  2   listen live during the entire transaction?

  3   A.     Yes.

  4   Q.     Was there anything specific that you can recall that

  5   would lead you to believe that the defendant obtained

  6   methamphetamine from his source of supply?

  7   A.     Yes.    The fact that they were, I believe, counting

  8   money, and then stating that they were good and said

  9   "Let's roll," stating that they had received it and we

 10   can go back to Cedar County, go home, essentially.

 11   Q.     And after the defendant met with his source, got

 12   back in the CS's vehicle, did the defendant make a

 13   statement in terms of why it wasn't a full pound of

 14   methamphetamine?

 15   A.     Yes.    The defendant stated that he wanted to keep an

 16   ounce for himself.

 17   Q.     Referring to the source, the source kept an ounce?

 18   A.     Correct, yes, referring to the source.

 19   Q.     And it would have been after that time, the CS got

 20   out of the vehicle and placed the methamphetamine in the

 21   tire well in the trunk?

 22   A.     Yes.

 23   Q.     Just as you had directed her?

 24   A.     Yes.

 25   Q.     From there, what actions were taken by law
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  1   enforcement?       After the methamphetamine was placed in the

  2   trunk, what happened next?

  3   A.     We continued our surveillance and observed them to

  4   travel back onto the highway to travel back home.

  5   Q.     At some point -- it may not have been yourself, but

  6   you were listening live to the radio frequency -- were

  7   Cedar Rapids police officers that had been briefed on

  8   this plan directed to conduct a traffic stop of the CS's

  9   vehicle?

 10   A.     Yes.

 11   Q.     And how long after the traffic stop was initiated

 12   until you arrived on scene?

 13   A.     I believe it was two or three minutes is all.

 14   Q.     And what was your responsibility when you arrived on

 15   scene?

 16   A.     My responsibility was to stay with the CS and calm

 17   them down and just get them under control.

 18   Q.     And after the controlled purchase or after the

 19   defendant was taken away, was the CS's vehicle -- or

 20   sorry.     During the traffic stop, was the CS's vehicle

 21   searched?

 22   A.     Yes.

 23   Q.     And was the methamphetamine recovered from the rear

 24   tire well?

 25   A.     Yes.
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  1   Q.     After the traffic stop was essentially concluded,

  2   did you have the CS write a statement as to what

  3   happened?

  4   A.     Yes, right after the search of her person by an

  5   officer.

  6   Q.     Now, on the February 5th controlled purchase and the

  7   February 28th controlled purchase, was there also a GPS

  8   tracker affixed to the CS's vehicle?

  9   A.     Yes.

 10   Q.     Now, this next line of questioning may be obvious,

 11   but I want to ask it.          Was it the defendant's vehicle

 12   that was stopped on February 28th?

 13   A.     No.

 14   Q.     Do you have any information that defendant was the

 15   owner of that vehicle?

 16   A.     No.

 17   Q.     Did you have any information that the defendant had

 18   permission to ever drive that vehicle?

 19   A.     No.

 20   Q.     Was the vehicle the CS's vehicle?

 21   A.     Yes.

 22   Q.     And at all points, was the CS the driver of that

 23   vehicle?

 24   A.     Yes.

 25   Q.     Now, this last line of questioning I have just is
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  1   kind of generally your experience with search warrants.

  2   You said that you're with Muscatine County, but on the

  3   drug task force.        Does your work with the drug task force

  4   take you oftentimes outside of Muscatine County?

  5   A.     Yes, many times.

  6   Q.     Are there times where you will obtain a Muscatine

  7   County search warrant to search a place or a person or a

  8   thing outside of Muscatine County?

  9   A.     Yes.

 10   Q.     And is that permitted under Iowa state law?

 11   A.     Yes.

 12   Q.     Now, finally, here, kind of this is more of a

 13   hypothetical question -- actually, it's not.                 It's a

 14   factual question.        After the controlled buy happened on

 15   February 28th, the CS and the defendant were heading back

 16   to Cedar County.        If you didn't have the search warrant,

 17   if the search warrant hadn't been signed, do you think

 18   that you had probable cause to conduct a traffic stop and

 19   search that vehicle?

 20   A.     Yes.

 21   Q.     Will you just articulate some of the reasons why you

 22   would have had probable cause.

 23   A.     Just from what all of our officers and investigators

 24   witnessed:      Them meeting with an unknown individual, the

 25   defendant here getting out of the vehicle for a short
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  1   amount of time, less than a few minutes, and then

  2   reentering their vehicle and departing the area.

  3   Q.      And did you know exactly where the methamphetamine

  4   was inside the car?

  5   A.      Yes.   At that time, we did.

  6   Q.      Now, similarly, during the three controlled buys

  7   that we discussed -- February 5th, February 13th,

  8   February 28th -- kind of outside of the first explanation

  9   as to the procedures, when you are conducting a search of

 10   the CS's person and the CS's vehicle, do you explicitly

 11   ask the CS every time, "Do I have your consent to do

 12   this?     Do I have your consent to do this?"

 13   A.      Not before every transaction.           That's covered, I

 14   guess, on our initial.

 15   Q.      So the initial meeting with the confidential source

 16   that would lead, then, to the controlled purchases, kind

 17   of this general consent is covered?

 18   A.      Yes.

 19   Q.      So during the specific controlled purchases, there

 20   isn't an explicit conversation each time about the CS's

 21   consent to every search?

 22   A.      No, not specifically, no.

 23                  MR. EDWARDS:     No further questions for this

 24   witness, Your Honor.

 25                  THE COURT:     Thank you, Mr. Edwards.
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  1          Mr. Wassmer.

  2                  MR. WASSMER:     Thank you, Your Honor.

  3                              CROSS-EXAMINATION

  4          BY MR. WASSMER:

  5   Q.     I first want to ask you about the search warrant

  6   that was issued on February 28th of 2024.                Now, you were

  7   not the officer who obtained that warrant, correct?

  8   A.     Correct.

  9   Q.     But that warrant was obtained, I believe it was, by

 10   Matt Jackson, right?

 11   A.     Yes.

 12   Q.     And that was obtained prior to the CS meeting with

 13   Shane McDowell later that day, right?

 14   A.     No, they were together when that warrant was signed.

 15   Q.     Okay.    Is there anything at all in the warrant

 16   affidavit about the February 28, 2024, controlled

 17   purchase?

 18   A.     No.

 19   Q.     And the search warrant does not contain any

 20   information about the vehicle the CS was driving, the

 21   2010 Mercedes-Benz SUV, correct?

 22   A.     I do not know about that.

 23   Q.     Okay.    But that would be something that either is or

 24   isn't in the search warrant, in the application?

 25   A.     Yes.
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  1   Q.      Now, you talked about the CI's vehicle being

  2   searched after the February 5th and the February 13th

  3   controlled buys.        And that was searched by an officer,

  4   either you or somebody at your direction?

  5   A.      At a minimum two officers, yes.

  6   Q.      Okay.     And when in the process did those vehicle

  7   searches occur?

  8   A.      Within five minutes of each transaction.

  9   Q.      Okay.     And is it after the transaction is concluded

 10   and any suspects or sources of methamphetamine have left

 11   the area?

 12   A.      Yes.

 13   Q.      And is it one of the last steps that's taken in the

 14   controlled buy before the CS is released?

 15   A.      Yes.

 16   Q.      Now, you mentioned that part of your purpose in

 17   coming to the traffic stop was to calm down the CS,

 18   right?

 19   A.      Yes.

 20   Q.      And you -- so that would indicate that the CS was

 21   upset?

 22   A.      No.     She was in shock, because we did not tell them

 23   that we were going to conduct the traffic stop.

 24   Q.      Okay.     So you had not warned the CS about a traffic

 25   stop?
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  1   A.     No.     We like the surprise factor.

  2   Q.     Okay.     And was one of the reasons the CS was in

  3   shock was because she didn't have a driver's license?

  4   A.     I'm unaware of her feelings for that.

  5   Q.     Okay.     Did she have a driver's license?

  6   A.     You're testing my memory here.            I'm unsure.

  7   Q.     Okay.     Well, you had mentioned when you first met

  8   with her she had been in jail; is that right?

  9   A.     Yes.

 10   Q.     And that was for a conviction for driving with a

 11   suspended license, wasn't it?

 12   A.     I'm unsure.

 13   Q.     And you also indicated that the vehicle was owned by

 14   her.     It was actually owned by her boyfriend, wasn't it?

 15   A.     I do not know, the vehicle that was registered.                I

 16   just knew she was driving it.

 17                  MR. WASSMER:     Okay.    Nothing further, Your

 18   Honor.

 19                  THE COURT:     Thank you, Mr. Wassmer.

 20          Any redirect?

 21                           REDIRECT EXAMINATION

 22          BY MR. EDWARDS:

 23   Q.     Just one point of clarification, sir.               When you

 24   mentioned that the warrant was obtained when the

 25   defendant and CS were together, was that during the first
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  1   kind of unsuccessful controlled purchase earlier in the

  2   day on February 28th?

  3   A.      Yes, approximately 2:48 p.m.

  4                 MR. EDWARDS:      No further questions, Your Honor.

  5                 THE COURT:     All right.      Thank you, Mr. Edwards.

  6           Any recross?

  7                 MR. WASSMER:      No, Your Honor.

  8                 THE COURT:     Sir, I take it the routine in these

  9   circumstances would be to have dropped off the defendant

 10   and then searched the car later; is that true?

 11                 THE WITNESS:      Yes.

 12                 THE COURT:     Okay.     Why did you do something

 13   different?

 14                 THE WITNESS:      In which circumstance, which

 15   date?

 16                 THE COURT:     I'm sorry.      The February 28th

 17   search where you decided to surprise-stop the driver and

 18   do the search in Linn County.            Why did you make that

 19   decision?

 20                 THE WITNESS:      We believed -- well, we were an

 21   unknown from the other target, his source.                 We didn't

 22   know who that was.         So we believed if we traffic stopped

 23   that individual, it would be a clear shot of giving up

 24   our CS, and we weren't -- we didn't want to do that.

 25                 THE COURT:     Okay.
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  1                  THE WITNESS:     So we determined to stop both of

  2   them, essentially.

  3                  THE COURT:     Okay.    That's all I have for you.

  4   Let's find out if that prompted anything from the

  5   lawyers.

  6          Anything else, Mr. Edwards?

  7                  MR. EDWARDS:     Just one point of clarification.

  8                         RE-REDIRECT EXAMINATION

  9          BY MR EDWARDS:

 10   Q.     When the defendant met with his source on

 11   February 28th -- I believe it was in the parking lot of a

 12   store -- did law enforcement at that time know the

 13   identity of the defendant's source?

 14   A.     I'm not sure of that.          That would be the

 15   Cedar Rapids Police Department, what they knew.

 16   Q.     Okay.    After the controlled purchase occurred, did

 17   law enforcement conduct a controlled purchase on the

 18   defendant's source -- or, I'm sorry -- a traffic stop on

 19   the defendant's source's vehicle?

 20   A.     Yes.

 21   Q.     And through that, learned the defendant's source's

 22   identity?

 23   A.     Yes.

 24   Q.     Was it law enforcement's fear that, once they

 25   conducted that traffic stop, the defendant could be
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  1   tipped off that the source was traffic stopped?

  2   A.     Yes.     That's what I was trying to say.

  3   Q.     And so is that what resulted in the decision to do

  4   simultaneous traffic stops on the source and on the

  5   defendant -- or on the CS's vehicle?

  6   A.     Yes.

  7                  MR. EDWARDS:     Okay.    No further questions.

  8                  THE COURT:     All right.     Thank you, Mr. Edwards.

  9          Any additional cross-examination based on that,

 10   Mr. Wassmer?

 11          (Whereupon, Mr. Wassmer conferred with the

 12   defendant.)

 13                  MR. WASSMER:     No further questions, Your Honor.

 14                  THE COURT:     All right.     Thank you, sir.          You

 15   may be excused.

 16                  THE WITNESS:     Thank you.

 17                  THE COURT:     Mr. Edwards, you have another

 18   witness.

 19                  MR. EDWARDS:     Yes, Your Honor.        The government

 20   calls Austin Bailey.

 21                  THE COURT:     Sir, if you could come forward,

 22   please.       And before you take a seat -- in the box here to

 23   your left.       Before you take a seat, if you would stop and

 24   raise your right hand.

 25
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  1                                AUSTIN BAILEY,

  2   called as a witness, being first duly sworn or affirmed,

  3   was examined and testified as follows:

  4                 THE COURT:     Please be seated.         And when you are

  5   comfortable, I'd ask you to adjust the microphone, if you

  6   need to, and pull up your chair.             We want to be sure to

  7   hear and record you.

  8          Mr. Edwards.

  9                 MR. EDWARDS:      Thank you.

 10                             DIRECT EXAMINATION

 11          BY MR. EDWARDS:

 12   Q.     Sir, could you please state and spell your name for

 13   the court reporter.

 14   A.     My first name is Austin, A-U-S-T-I-N; last name is

 15   Bailey, B-A-I-L-E-Y.

 16   Q.     How are you currently employed?

 17   A.     I'm a police officer.

 18   Q.     With what department?

 19   A.     The Cedar Rapids Police Department.

 20   Q.     How long have you been with the Cedar Rapids Police

 21   Department?

 22   A.     Four years.

 23   Q.     And back in February of 2024 -- so February of this

 24   year -- what was your role within Cedar Rapids Police

 25   Department?
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  1   A.     I was a member of the Police Community Action Team.

  2   Q.     Generally, what are the duties of kind of the PCAT

  3   Unit, or the Police Community Action Team?

  4   A.     Proactive police work, with an emphasis in reducing

  5   gun crime.

  6                 COURT REPORTER:       I'm sorry.      Would you say that

  7   again, please.

  8                 THE WITNESS:      Proactive police work.

  9          BY MR. EDWARDS:

 10   Q.     With an emphasis in?

 11   A.     In reducing gun violence within the city.

 12   Q.     Through that role -- are you still in that role?

 13   A.     No.

 14   Q.     What is your position now?

 15   A.     Patrol officer.

 16   Q.     Going back to February of '24, when you were in the

 17   PCAT role, was it common for you to assist investigators

 18   in the drug unit with controlled purchases or other

 19   things they may need help with?

 20   A.     Yes.

 21   Q.     Is that still kind of a part of a role of a patrol

 22   officer?

 23   A.     It can be.

 24   Q.     If they need a marked unit to do something?

 25   A.     Yes.
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  1   Q.     Now, going back to February 28th of 2024, were you a

  2   part of a team that was investigating the defendant,

  3   Shane McDowell?

  4   A.     Yes.

  5   Q.     And as part of that investigation, did you attend a

  6   safety briefing here in Cedar Rapids with regard to what

  7   was going to occur on that date?

  8   A.     I did.

  9   Q.     What was covered during that safety briefing?

 10   A.     Myself, along with my partner, met with Cedar County

 11   investigators.       They briefed us on their investigation

 12   involving Mr. McDowell.          They had provided my partner and

 13   I a search warrant that they had authored and gotten

 14   signed for a search of Shane and any vehicle that he was

 15   to be associated in -- or found in.

 16   Q.     Did -- during that initial safety briefing, were you

 17   apprised as to the specific actions that investigators

 18   were going to take during the controlled purchase?

 19   A.     Yes.

 20   Q.     What were -- what was -- what were you briefed into?

 21   A.     A controlled buy.        Essentially, he was supposed to

 22   be in town meeting with another gentleman to purchase

 23   drugs.

 24   Q.     And was it a part of that safety briefing that one

 25   of your responsibilities coming out of that was to be
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  1   conducting a traffic stop after the controlled purchase?

  2   A.     Correct.

  3   Q.     Were you apprised as to whether or not the

  4   defendant -- during the safety briefing -- would be

  5   arriving in his vehicle or somebody else's vehicle?

  6   A.     They had provided, if I remember correctly, it was

  7   several vehicles that he was associated with prior to us

  8   going out there.

  9   Q.     Were you apprised during the safety briefing that

 10   the defendant would be in a CS's vehicle?

 11   A.     Yes.

 12   Q.     And were you given the description of the CS's

 13   vehicle?

 14   A.     We were.

 15   Q.     And what was just the general description?

 16   A.     It was a black, I think, Mercedes SUV.

 17   Q.     Now, during the safety briefing, were you also

 18   provided any equipment related to the investigation?

 19   A.     Yes.

 20   Q.     Will you describe that for the Court, please.

 21   A.     My partner and I were provided a walkie-talkie.                We

 22   could overhear and communicate with the Cedar County

 23   investigators.

 24   Q.     Now, going forward through the controlled purchase

 25   occurring, what was being discussed over the
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  1   walkie-talkies, or what are you listening to?

  2   A.     My partner and I over the walkie-talkie just

  3   monitored Cedar County's radio traffic as it related to

  4   their surveillance of Shane and his activities.

  5   Q.     Before the controlled -- or before the traffic stop

  6   occurred, what did you learn or what did you have

  7   knowledge of in terms of what was being discussed over

  8   the walkie-talkies?

  9   A.     A drug deal in the parking lot of Walmart.

 10   Q.     And did that involve the defendant?

 11   A.     Yes.

 12   Q.     The defendant met with a source of supply?

 13   A.     Yes.

 14   Q.     And then what did you know had happened through the

 15   radio traffic in terms of what happened after the

 16   defendant met with his source?

 17   A.     After we -- the defendant met with the source, we

 18   overheard that he was leaving with the CI.                 They had

 19   stopped briefly.        The defendant opened the trunk of the

 20   CI's vehicle, placed what we imagine were the drugs in

 21   the back, and then got back in and left.

 22   Q.     And so at the time you are conducting the traffic

 23   stop, you knew that a drug deal had occurred and where

 24   specifically in the car the drugs were?

 25   A.     Correct.
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  1   Q.     Now, kind of going back, while you are listening to

  2   this traffic stop [sic], what is essentially your role

  3   while this controlled purchase is going on?

  4   A.     My partner and I were parked a distance away and

  5   just -- our role was to monitor radio traffic.                  Once the

  6   deal was done, it was our role to conduct a traffic stop

  7   on the car.

  8   Q.     And after the deal was done, you knew the type of

  9   vehicle that you were looking for?

 10   A.     Correct.

 11   Q.     And were you being directed as to the exact location

 12   of that vehicle by other investigators?

 13   A.     Yes.

 14   Q.     And did someone working with the Cedar County

 15   investigators direct you to conduct the traffic stop?

 16   A.     Yes.

 17   Q.     After the traffic stop was initiated, what happened

 18   next in terms of what did -- what did you do during the

 19   traffic stop?

 20   A.     I had approached the driver's side.              I met with the

 21   CI.    She had provided me a brief story about where she

 22   was coming from and going.           I had asked her to step from

 23   the vehicle.       She stood in front of my car while I waited

 24   for Cedar County investigators to arrive on the stop.

 25   Q.     And did they arrive fairly quickly after the stop
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  1   occurred?

  2   A.     Yeah, a minute or two.

  3   Q.     During your conversation with the CS, was there any

  4   conversation about the CS's driver's license?

  5   A.     Yes.

  6   Q.     Will you describe that.

  7   A.     She had stated she was barred, a barred driver.

  8   Q.     Did she provide -- or did the CS provide you with a

  9   driver's license?

 10   A.     If -- I don't recall if she gave me an ID or not,

 11   but she had given me her name.

 12   Q.     During the entire interaction with the driver of

 13   this vehicle, did you know that person to be the CS

 14   involved in this case?

 15   A.     Yes.

 16   Q.     After Cedar County investigators arrived, what did

 17   you do next relevant to this investigation?

 18   A.     My partner was speaking with Mr. McDowell at the

 19   window.       Once Cedar County had arrived, they remained

 20   with the CI.       I approached the passenger's side.                 My

 21   partner, he requested the defendant step out.                  He was

 22   detained in handcuffs at that point.

 23   Q.     And then what did you do next after that?

 24   A.     Completed a search of his person, escorted him to

 25   the front of our patrol vehicle, and I explained to him
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  1   that there was a search warrant involving -- for him,

  2   including any vehicle he was found to be inside.

  3   Q.     And at that point, did you search the vehicle?

  4   A.     I did.

  5   Q.     And what -- as relevant here, what did you find?

  6   A.     A large package of methamphetamine.

  7   Q.     And where was it located?

  8   A.     In the trunk.

  9   Q.     Was there a specific area of the trunk it was

 10   located?

 11   A.     The spare -- the spare tire area of the trunk.

 12   Q.     Now, you wrote in your report that you conducted the

 13   stop and the search of the vehicle based on the search

 14   warrant.      Do you remember that?

 15   A.     Yes.

 16   Q.     Did you have a copy of the search warrant in hand

 17   when you -- before you conducted the traffic stop?

 18   A.     They provided us at our safety briefing a copy of

 19   the warrant, yeah.

 20   Q.     Now, say you didn't have a warrant.              Do you think

 21   you had probable cause to stop and search the vehicle?

 22   A.     Yes.

 23   Q.     And will you articulate for the Court on -- why you

 24   believed you had probable cause.

 25   A.     Based on other officers' surveillance of watching a
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  1   drug deal go down, and overhearing it with the CI.

  2   Q.      And you knew specifically exactly where within the

  3   car you would find the methamphetamine?

  4   A.      Right.

  5                 MR. EDWARDS:      No further questions for this

  6   witness, Your Honor.

  7                 THE COURT:     Thank you, Mr. Edwards.

  8           Mr. Wassmer.

  9                 MR. WASSMER:      Thank you, Your Honor.

 10                              CROSS-EXAMINATION

 11           BY MR. WASSMER:

 12   Q.      Officer, prior to this traffic stop, had you ever

 13   met the driver of the vehicle?

 14   A.      No, sir.

 15   Q.      Had you ever met Shane McDowell prior to the traffic

 16   stop?

 17   A.      No, sir.

 18   Q.      Now, you did have a copy of the search warrant that

 19   was provided to you in advance of the traffic stop,

 20   right?

 21   A.      Yes, sir.

 22   Q.      And did you read through that search warrant before

 23   it was executed?

 24   A.      No, I didn't.      I didn't read the details of it.

 25   Q.      Did your partner read through it?
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  1   A.     I don't recall.

  2   Q.     Do you normally execute search warrants without

  3   reading what's in them?

  4   A.     I've never executed a search warrant authored by

  5   another agency.

  6   Q.     Okay.    So this was the first time you've executed

  7   any search warrant or just one authored by -- or obtained

  8   by a different agency?

  9   A.     Just obtained by a different agency.

 10   Q.     Have you executed search warrants that you had

 11   obtained?

 12   A.     Yes.

 13   Q.     And on about how many occasions prior to this

 14   traffic stop?

 15   A.     A dozen, for a rough number.

 16   Q.     Are you aware that search warrants can be limited in

 17   various ways by the issuing court?

 18   A.     I'm not.

 19   Q.     Okay.    Well, is a search warrant generally limited

 20   as to the place or the person to be searched?

 21   A.     Yes.

 22   Q.     Are they generally limited as to the items to be

 23   searched for?

 24   A.     Correct.

 25   Q.     So, for example, it can say you're looking for guns,
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  1   you're looking for stolen property, you're looking for

  2   narcotics, right?

  3   A.     Yes, sir.

  4   Q.     Are they sometimes limited as to when they can be

  5   executed, such as they have to be executed been 8:00 a.m.

  6   and 8:00 p.m. or some other specific time frame?

  7   A.     Yes.

  8   Q.     And are they limited as to where they can be

  9   executed?

 10   A.     As far as the -- yes.

 11   Q.     Because normally a search warrant is going to be,

 12   for example, for a piece of property, a residential

 13   address, or some kind of building, right?

 14   A.     Or a person.

 15   Q.     Or a person.

 16   A.     Sure.

 17   Q.     Okay.    But if it's a residential property or some

 18   other building, those are fixed in location, generally,

 19   right?

 20   A.     Yes.

 21   Q.     Okay.    Do you think it's important to read and

 22   understand the terms and limits of a search warrant

 23   before you execute it?

 24   A.     Yes.

 25   Q.     But I think you indicated you had not read this
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  1   search warrant, correct?

  2   A.     Correct.

  3   Q.     What information about the search warrant did you

  4   receive from the Cedar County officers?

  5   A.     We had just received a brief synopsis of their

  6   investigation into the defendant.              They had provided us,

  7   like I said, with the warrant and stated that there was

  8   likely to be some kind of buy happening.

  9   Q.     Okay.    Were you specifically informed that it

 10   included the person of Shane McDowell?

 11   A.     Yes.

 12   Q.     Were you specifically informed that it included the

 13   vehicle that the -- that the CS was driving?

 14   A.     I was.

 15   Q.     Okay.    And was it your understanding that the

 16   vehicle was specifically identified in the search

 17   warrant; for example, it was a black Mercedes SUV,

 18   license plate number such and such?

 19   A.     Yeah.    If I remember right -- this is months ago,

 20   but it -- the verbiage was any vehicle that Shane --

 21   sorry -- the defendant was found to be in.

 22   Q.     Okay.    So you had been told that it was any vehicle

 23   that he was either driving or a passenger in?

 24   A.     Yes, sir.

 25   Q.     Okay.    Did you have any information that the search
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  1   warrant included the specific vehicle that you were

  2   stopping?

  3   A.     No, sir.

  4   Q.     Now, this traffic stop and the execution of the

  5   search warrant occurred in Linn County, Iowa, correct?

  6   A.     Yes, sir.

  7   Q.     And you did a report regarding the traffic stop,

  8   correct?

  9   A.     Yes, sir.

 10   Q.     And in that report, you gave the reason as the

 11   traffic stop was for the purpose of executing the search

 12   warrant, correct?

 13   A.     Correct.

 14   Q.     And there is no mention in that report of any

 15   controlled buy or drug transaction or belief that there

 16   might be drugs in the vehicle, correct?

 17   A.     Correct.

 18   Q.     There were also no traffic violations that were

 19   observed that this vehicle was committing prior to

 20   stopping the vehicle, correct?

 21   A.     Correct.

 22   Q.     When you -- and you mentioned that the driver had a

 23   barred license?

 24   A.     She did.

 25   Q.     Okay.    Did you know that prior to the traffic stop?
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  1   A.      I don't recall.

  2   Q.      Okay.    Was the driver allowed to drive away from the

  3   traffic stop?

  4   A.      I don't know.

  5                   MR. WASSMER:     Okay.   Nothing further, Your

  6   Honor.

  7                   THE COURT:     Thank you, Mr. Wassmer.

  8           Mr. Edwards?

  9                           REDIRECT EXAMINATION

 10           BY MR. EDWARDS:

 11   Q.      Sir, in terms of report writing, is there a

 12   technique in terms of report writing to try, if possible,

 13   to essentially wall off a cooperator's involvement in a

 14   case?

 15   A.      Yes.

 16   Q.      And so if you have a search warrant and you're

 17   executing a search warrant, that's kind of a way of

 18   walling off the controlled purchase, in terms of --

 19   instead of putting everything in the report, in terms of

 20   the controlled purchase, who the CS was, and everything

 21   that had occurred?

 22   A.      Yes.    It wasn't -- it was an out-of-town

 23   investigation, so I wasn't going to include their

 24   observations, surveilling him, and anything that went

 25   into it prior to the stop.
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  1   Q.     And at the time you executed the search warrant, did

  2   you believe you had a valid search warrant?

  3   A.     Yes.

  4   Q.     And did you believe, as you were executing the

  5   traffic stop and the search, that you were doing that

  6   pursuant to the search warrant?

  7   A.     Yes.

  8                 MR. EDWARDS:      No further questions, Your Honor.

  9                 THE COURT:     Thank you, Mr. Edwards.

 10          Mr. Wassmer?

 11                 MR. WASSMER:      Nothing further.

 12                 THE COURT:     Officer, just a few questions.           I

 13   understand in your report you indicate that the reason

 14   you made the stop was because of the search warrant.

 15   It's your belief that you were justified in making the

 16   stop because of that warrant, correct?

 17                 THE WITNESS:      Yes, sir.

 18                 THE COURT:     Okay.     But the actual decision to

 19   pull over the vehicle and make that stop, that wasn't

 20   your decision; is that fair to say?

 21                 THE WITNESS:      Yes, we were there -- that was --

 22   our role was to stop the car for another agency.

 23                 THE COURT:     So it was -- the other agency made

 24   the decision, "Now we'd like you to stop the vehicle.

 25   Please do that at this time."            Is that what happened?
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  1                 THE WITNESS:      Yes, sir.

  2                 THE COURT:     So it wasn't your decision?

  3                 THE WITNESS:      No.

  4                 THE COURT:     Very good.

  5          Anything else, Mr. Edwards?

  6                 MR. EDWARDS:      No, Your Honor.

  7                 THE COURT:     Mr. Wassmer?

  8                 MR. WASSMER:      No, Your Honor.

  9                 THE COURT:     All right.      Thank you, Officer.

 10   You may be excused.

 11                 MR. EDWARDS:      May I have just one moment, Your

 12   Honor?

 13                 THE COURT:     Yes, you may.

 14          (Government counsel conferred.)

 15                 MR. EDWARDS:      Thank you, Your Honor.          At this

 16   time, the government doesn't have any further evidence.

 17                 THE COURT:     All right.      Mr. Wassmer, I take it

 18   you don't have any further evidence.

 19                 MR. WASSMER:      I do not, Your Honor.

 20                 THE COURT:     Okay.     I know we have some time and

 21   we could argue things, if that's what you really want to

 22   do.    But I have some questions that perhaps might be

 23   better addressed in briefing, but I'll hear from you

 24   anyway about them.

 25          For you, Mr. Wassmer, I guess I'm -- it's not
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  1   something you addressed in your opening brief

  2   necessarily.       I guess I'm curious as to what support you

  3   have for your standing argument.             I'm curious as to your

  4   resistance, if you have any, as to why there wasn't

  5   consent to search the vehicle or why, even if there

  6   wasn't a warrant here, there's not probable cause to

  7   search the vehicle based on everything law enforcement

  8   had learned during the course of the investigation that

  9   led up to the stop.         So that might be something you want

 10   to take up in the course of some post-hearing briefs.

 11          And then, I guess, for both sides, I know it's come

 12   up -- I don't know as it's come up directly in the cases

 13   that you've cited.         I don't think it has.         But the

 14   business about "any vehicle" the defendant's in.

 15   Certainly, I would hope, that's come up before sometime.

 16                 MR. WASSMER:      Surprisingly, not much --

 17                 THE COURT:     Yeah.

 18                 MR. WASSMER:      -- if at all.

 19                 THE COURT:     But it does raise at least some

 20   interesting questions about that.              Would that include --

 21   you know, this wasn't a Greyhound bus.               Thank God.       But,

 22   you know, if you stop a Greyhound bus, do you get to

 23   search the whole bus because there's an "any vehicle"

 24   warrant?     I'm not saying that's a factual circumstance

 25   that necessarily has anything to do with this case, but
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  1   it's -- I'm curious about any additional authority either

  2   of you might find with respect to the concept of kind of

  3   an open-ended which vehicle law enforcement could search.

  4   So those are my thoughts.           Would the parties like some

  5   time to provide additional authority on any of those

  6   issues or anything else that may have come up today?

  7           Your thoughts, Mr. Wassmer?

  8                 MR. WASSMER:      I would like an opportunity to do

  9   post-hearing briefing.

 10                 THE COURT:     Okay.     And how long do you need for

 11   that?

 12                 MR. WASSMER:      Probably end of next week.

 13                 THE COURT:     Very good.

 14           Mr. Edwards, your thoughts about arguments or

 15   post-hearing briefs.

 16                 MR. EDWARDS:      Certainly, the government can

 17   file a post-hearing brief and try and narrow down even

 18   more the government's argument that the search warrant

 19   was supported by probable cause, even this "any vehicle"

 20   language.

 21           As I was preparing for this specific hearing, I also

 22   realized, in the government's lengthy brief, I forgot to

 23   address explicitly the defendant's "fruit of the

 24   poisonous tree" argument.           Just briefly, the government's

 25   argument on that is the Court would have to disagree with
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  1   us on every alternative argument we make before we even

  2   get to that stage.         But if the Court is allowing

  3   post-hearing briefing, I would also just include that.

  4   That way, it's not forgotten or left out.                That was just

  5   a mistake on my part.

  6                 THE COURT:     Certainly, you can address that in

  7   your post-hearing brief.           And I don't see it in your

  8   table of contents, but is there an argument here about

  9   inevitable discovery?

 10                 MR. EDWARDS:      There is.      It's a subcomponent.

 11   It's the last argument the government makes.                 It's a

 12   subcomponent of the exclusionary rule doesn't apply here.

 13   So the government first -- in kind of prong A of that,

 14   just the Word format didn't let me go as many subheadings

 15   that I had.      There's a good-faith argument and then

 16   there's an inevitable discovery argument.

 17                 THE COURT:     Yeah, I do see that now that I've

 18   turned to the back of the brief.

 19          And that might be something you want to address,

 20   Mr. Wassmer.

 21          I guess I have some concerns about the fact that law

 22   enforcement decided to stop the vehicle instead of

 23   letting it run its routine course, letting the defendant

 24   out of the vehicle, and then they go through their

 25   procedure and they search it and they find it.                  They
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  1   still have the evidence.           They just haven't done the

  2   search either outside of Cedar County or it -- they would

  3   have found it just in the routine course of their

  4   investigation.       So that might be something you want to

  5   take up also in your post-hearing brief.                I have concerns

  6   about that.

  7          All right.      Anything else that you think we should

  8   address or any arguments you just want to make on the

  9   record this morning?         Mr. Edwards?

 10                 MR. EDWARDS:      Not that I can think of, Judge.

 11   Thank you for the time this morning.

 12                 THE COURT:     And, Mr. Wassmer, anything we need

 13   to address from your perspective?

 14                 MR. WASSMER:      What deadline did you want to

 15   set?    Did you want that a week from Friday?

 16                 THE COURT:     Yeah, a week from Friday.           And I'm

 17   not setting up a staggered briefing schedule.                  Just by

 18   the close of -- or I guess 5 o'clock on Friday.

 19                 MR. WASSMER:      Okay.

 20                 MR. EDWARDS:      Just so the Court knows, unless

 21   the government has something new to add in rebuttal to

 22   the defendant's post-hearing brief on the issues that the

 23   government has already briefed, the government wouldn't

 24   intend on filing a resistance.             I just didn't want the

 25   Court to see that and think anything.               I just don't want
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  1   to duplicate my written work.

  2                 THE COURT:     I appreciate that.         All right.

  3   Thank you, all.        That will conclude our hearing.

  4          (Proceedings concluded at 9:57 a.m.)

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  1                           C E R T I F I C A T E

  2            I, Patrice A. Murray, a Certified Shorthand
      Reporter of the State of Iowa, do hereby certify that at
  3   the time and place heretofore indicated, a hearing was
      held before the Honorable Mark A. Roberts; that I
  4   reported in shorthand and transcribed to the best of my
      ability the proceedings of said hearing; and that the
  5   foregoing transcript is a true record of all proceedings
      had on the taking of said hearing at the above time and
  6   place.

  7            I further certify that I am not related to or
      employed by any of the parties to this action, and
  8   further, that I am not a relative or employee of any
      attorney or counsel employed by the parties hereto or
  9   financially interested in the action.

 10        IN WITNESS WHEREOF, I have set my hand this 3rd day
      of January, 2025.
 11

 12
                              /s / Pat r i c e A. Mur r ay
 13                           Patrice A. Murray, CSR, RMR, FCRR
                              Court Reporter
 14                           PO Box 10541
                              Cedar Rapids, Iowa 52410
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